   Case 1:16-cv-00013-KBJ-RMM Document 140 Filed 09/28/18 Page 1 of 6




                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA



AL JAZEERA AMERICA, LLC, AL JAZEERA
MEDIA NETWORK, AL JAZEERA
INTERNATIONAL (USA) INC., AND
DEBORAH DAVIES
                                           Case No. 1:18-MC-00045 (KBJ)(RMM)
     Petitioners,

     vs.                                   Related Cases: 1:16-cv-13 (KBJ)(RMM)
                                                          1:16-cv-14 (KBJ)(RMM)
PHENIX INVESTIGATIONS, INC.

     Respondent.


AL JAZEERA AMERICA, LLC, AL JAZEERA
MEDIA NETWORK, AL JAZEERA
INTERNATIONAL (USA) INC., AND
DEBORAH DAVIES
                                             Case Nos.: 1:16-cv-13 (KBJ)(RMM)
     Petitioners,
                                                        1:16-cv-14 (KBJ)(RMM)
     vs.

GIBSON, DUNN & CRUTCHER, LLP.

     Respondent.




                     SUR-REPLY OF PETITIONERS
       AL JAZEERA AMERICA, LLC, AL JAZEERA MEDIA NETWORK,
      AL JAZEERA INTERNATIONAL (USA) INC., AND DEBORAH DAVIES
  IN SUPPORT OF THEIR MOTION TO COMPEL DISCOVERY FROM PHENIX
 INVESTIGATIONS, INC. AND GIBSON, DUNN & CRUTCHER, LLP, AND THEIR
        BRIEF IN OPPOSITION TO RESPONDENTS’ CROSS-MOTIONS
     Case 1:16-cv-00013-KBJ-RMM Document 140 Filed 09/28/18 Page 2 of 6




       Pursuant to this Court’s September 21, 2018 Order, Defendants Al Jazeera America, LLC,

Al Jazeera Media Network, Al Jazeera International (USA) Inc., and Deborah Davies (collectively

“Al Jazeera” or “Petitioners”) submit this sur-reply in further support of their Motion to Compel

Discovery from Phenix Investigations, Inc. and Motion to Compel Discovery from Gibson, Dunn

& Crutcher, LLP.1 In support of their claims, Plaintiffs Ryan Zimmerman and Ryan Howard

(“Plaintiffs”) contend that Al Jazeera should not have relied on any of the 27 hours of statements

made by Charlie Sly (“Sly”) in which he implicated himself and others in crimes. At the time he

made these statements, he did not know he was being recorded.             After learning of these

incriminatory recordings, he prepared a videotaped statement on December 24, 2015 in which he

claimed that everything he said during these 27 hours of recordings was false.2 Sly also sent two

emails around the same time asserting the same sweeping denial. 3 Al Jazeera disclosed Sly’s

indiscriminate denial in the Documentary and released the video on December 26, 2015.4 Al

Jazeera did not find Sly’s denial to be credible because, among other things, everything he said on

the recordings was not false, his statements appeared to be written by someone else, and they

appeared to be made under duress. The circumstances surrounding Sly’s denials is therefore a

critical issue in this case, including whether the video was the product of coercion by

representatives of Peyton Manning (Gibson, Dunn & Crutcher LLP (“GDC”) and Phenix


1
  Capitalized terms not specifically defined in this Sur-Reply shall have the same meaning as in
Petitioners’ Motion to Compel Discovery [ECF No. 1 in 1:8-mc-0045; ECF No. 84 in the
Underlying Actions] (the “Motions”).
2
  See, e.g., Howard FAC [ECF No. 44 in the Underlying Actions] ¶¶ 76(e), 90; Zimmerman FAC
[ECF No. 9 in the Underlying Actions] ¶¶ 73(e), 87.
3
  See, e.g., id.
4
  See ECF No. 26-4 in the Underlying Actions, at 35; September 28, 2018 Declaration of Rachel
V. Stevens (“Stevens Decl.”), Ex. I. See also Huffington Post, Explosive Documentary Links
Peyton Manning, Major Athletes to Doping Ring (December 26, 2015), available at
https://www.huffingtonpost.com/entry/peyton-manning-human-growth-
hormone_us_567f16e4e4b0b958f6599440.
                                                  1
      Case 1:16-cv-00013-KBJ-RMM Document 140 Filed 09/28/18 Page 3 of 6




Investigations, Inc. (“Phenix”)) or any other party.

       Since briefing was completed on March 30, 2018 in both the Motions to Compel and

associated Cross-Motions to Quash, discovery has revealed that Sly had extensive communications

with Phenix, the private investigation firm that was hired by GDC on behalf of Manning, at and

around the time of the denials.

       A. Sly Had Extensive Contacts with Phenix Investigators Both Prior to and After
          Issuing His Indiscriminate, Sweeping Denial

       On August 6, 2018, in response to a subpoena issued by Defendants, AT&T produced over

21,000 pages of information related to telephone calls and text messages made or received by a

mobile phone used by Sly between January 1, 2015 and July 18, 2018 (the “AT&T Records”).5

Defendants subpoenaed these records to discover Sly’s communications around the time he filmed

the video and sent the emails, and assist Petitioners in locating Sly in order to serve a subpoena. 6

The AT&T Records, including geolocation data for each call, text message, data usage throughout

that period, and a log of calls and text messages to and from the phone used by Sly, show:

           •   5 contacts between Sly and 317-          , a number associated with Brian Bauer
                                                       7
               (“Bauer”), CEO and President of Phenix;
           •   117 contacts between Sly and 317-           , a number registered to Benjamin A.
               Ford (“Ford”), Senior Investigator and Director of Counterintelligence with
               Phenix, all between December 16, 2015 and January 9, 2016.8

       Ninety-six (96) text messages were exchanged between Sly and Ford between December

24, 2015 and December 30, 2015, the dates immediately before and after Sly recorded the video

and sent the emails.9 These communications occurred shortly after Bauer and Ford showed up at


5
  See Stevens Decl., Ex. A.
6
  See id.
7
  See Stevens Decl., Ex. C, D, and E.
8
  See Stevens Decl., Ex. E, F, and G.
9
  See Stevens Decl., Ex. B, (relevant communications have been highlighted). For the Court’s
benefit, Petitioners also attach, as Appendix A, a spreadsheet containing these relevant entries.
                                                 2
      Case 1:16-cv-00013-KBJ-RMM Document 140 Filed 09/28/18 Page 4 of 6




Sly’s parents’ home on December 22, 2015, which prompted Sly’s sister to call 911.10 Bauer and

Ford returned on December 23, 2015, and with Sly’s lawyer on speakerphone, interviewed Sly. 11

At 10:59 P.M. that night, Sly spoke to someone using Bauer’s number for twenty minutes and

twenty-four seconds. 12 Within two hours of this call with Bauer, on December 24, 2015, at 1:36

A.M., Sly sent an email to Al Jazeera and its counsel claiming that his “statements on [Al Jazeera’s]

recordings and/or communications are false and incorrect.”13

       Also on December 24, 2015, Sly called Bauer at 5:48 and 6:03 P.M. and received a call

from Ford at 5:43 P.M.14 At 8:09 P.M., Sly sent a video to Al Jazeera and its counsel. 15 On

December 26, 2015, at 3:52 P.M., Sly received a call from Ford’s number that lasted over an hour,

ending at approximately 5:01 P.M.16 Ford and Sly spoke several times earlier that day as well,

and exchanged twenty (20) text messages.17 At 5:57 P.M., Sly sent another email to Al Jazeera

and its counsel. 18 Sly then had at least eleven (11) additional phone calls and an additional seventy-

three (73) text messages with Ford.19




10
   See https://www.washingtonpost.com/video/sports/911-call-charlie-slys-parents-visited-by-
peyton-mannings-private-investigators/2016/02/05/b7f2562c-cc38-11e5-b9ab-
26591104bb19_video.html?utm_term=.2780eccedb3e. See also Will Hobson and Justin Wm.
Moyer, “Inside Peyton Manning’s secret investigation into Al Jazeera documentary,”
WASHINGTON POST, Feb. 4, 2016, available at https://www.washingtonpost.com/sports/inside-
peyton-mannings-secret-investigation-into-al-jazeera-documentary/2016/02/04/d0da2f04-cb05-
11e5-a7b2-5a2f824b02c9_story.html?utm_term=.20bb306eb7d2
11
   See id.
12
   See Ex. B, Item No. 11448.
13
   See Stevens Decl., Ex. H.
14
   See Ex. B, Item Nos. 11478, 11479, 11475.
15
   See Stevens Decl., Ex. I.
16
   See Ex. B, Item No. 11520.
17
   See Ex. B, Highlighted Item Nos. 11513-11520, 12126-12203.
18
   See Stevens Decl., Ex. J.
19
   See Ex. B, Highlighted Item Nos. 11539-11800, 12154-12682.
                                               3
        Case 1:16-cv-00013-KBJ-RMM Document 140 Filed 09/28/18 Page 5 of 6




          Given Plaintiffs’ heavy reliance on the video and email denials in support of their claims,

Al Jazeera is clearly entitled to obtain discovery from Phenix and GDC, especially regarding the

extensive communications with Sly. See Zimmerman v. Al Jazeera America, LLC, 246 F. Supp.

3d 257, 283-84 (D.D.C. 2017) (permitting Plaintiffs’ claims to progress based on Al Jazeera’s

awareness of Sly’s denials); Breiterman v. United States Capitol Police, No. CV 16-0893, 2017

WL 5176317, at *3 (D.D.C. Nov. 7, 2017) (Meriweather, M.J.) (Rule 26(b) permits parties to

obtain “discovery regarding any nonprivileged matter that is relevant to any party’s claim or

defense and proportional to the needs of the case.”) (internal citation omitted).

          B. Phenix and GDC Are the Only Accessible Sources of This Information

          Phenix and GDC have based their discovery objections, in part, on the contention that Al

Jazeera should seek this discovery from Sly. This objection is meritless. See Estate of Klieman v.

Palestinian Auth., 272 F.R.D. 253, 259 (D.D.C. 2011); U.S. Dep’t of Treasury v. Pension Benefit

Guar. Corp., 301 F.R.D. 20, 30 (D.D.C. 2014). In any event, Sly has evaded Al Jazeera’s extensive

attempts to serve him with a subpoena for this discovery.20 Accordingly, Al Jazeera is entitled to

receive from GDC and Phenix, among other things, information relating to their interactions with

Sly. See BuzzFeed, Inc. v. U.S. Dep’t of Justice, 318 F. Supp. 3d 347, 362 (D.D.C. 2018) (granting

motion to compel where information sought could not be obtained from other sources).

          For these reasons, as well as those stated in Petitioners’ Motions to Compel, Petitioners

respectfully request that this Court order Phenix and GDC to produce documents in response to

Defendants’ subpoenas and to present corporate designees, including Bauer and Ford, for

depositions in the Underlying Actions.




20
     See Stevens Decl. at ¶ 10.
                                                   4
     Case 1:16-cv-00013-KBJ-RMM Document 140 Filed 09/28/18 Page 6 of 6




                                         Respectfully submitted.

Dated: September 28, 2018                /s/ Charles Scheeler
                                         Andrew L. Deutsch (admitted pro hac vice)
                                         Rachel Stevens (admitted pro hac vice)
                                         DLA PIPER LLP
                                          1251 Avenue of the Americas
                                         New York, NY 10020
                                         Office: (212) 335-4500
                                         Fax: (212) 335-4501
                                         andrew.deutsch@dlapiper.com
                                         rachel.stevens@dlapiper.com

                                         Charles Scheeler
                                         DLA PIPER LLP
                                         The Marbury Building
                                         6225 Smith Avenue
                                         Baltimore, MD 21209-3600
                                         Office: (410) 580-3000
                                         Fax: (410) 580-3001
                                         charles.scheeler@dlapiper.com

                                         Counsel for Defendants Al Jazeera America,
                                         LLC, Al Jazeera Media Network, Al Jazeera
                                         International (USA), Inc., Deborah Davies




                                     5
